 Case 2:19-cv-06325-DSF-JEM Document 32 Filed 01/13/20 Page 1 of 3 Page ID #:484




 1   COUNTY OF SAN LUIS OBISPO
     COUNTY COUNSEL
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 6
      Attome_ys for Defendant
 7    COUNTY OF SAN LUIS OBISPO
 8
                                UNITED STATES DISTRICT COURT
 9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                       WESTERN DIVISION
11
12   MICHAEL WINDELER, KAREN                        Case No. 2:19-cv-06325 DSF(JEMx)
     WINDELER, JOY SALERNI, JEFF
13   SCHNEIDER, EDNA SCHNEIDER,                     VERIFICATION OF ANSWER OF
     BARBARA KNIGHT, KENT
14   KNIGHT, BRUCE DEPAOLA,                         DEFENDANT COUNTY OF SAN LUIS
     TERRI DEPAOLA,                                 OBISPO TO COMPLAINT
15
               Plaintiffs and Petitioners,
16                                                 Assigned to: Honorable Judge Dale S. Fischer
     vs.
17
     CAMBRIA COMMUNITY WATER                        Complaint Filed: July 24, 2019
18   DISTRICT, COUNTY OF SAN
     LUIS OBISPO,
19
               Defendants and Respondents.
20
21
22         I, Trevor Keith, am the Director of Planning and Building of the County of San
23
     Luis Obispo, the defendant in the foregoing action. I have read the ANSWER OF
24

25   DEFENDANT COUNTY OF SAN LUIS OBISPO TO COMPLAINT, and know

26   the contents thereof to be true. As to those matters stated on information and belief, I
27
     believe them to be true.
28


                                     Verification of Answer to Complaint
 Case 2:19-cv-06325-DSF-JEM Document 32 Filed 01/13/20 Page 2 of 3 Page ID #:485




 1         I declare under penalty of perjury that the foregoing is true and correct.
 2

 3   January 13, 2020
 4

 5
                                              Trevor Keith
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                                    Verification of Answer to Complaint
Case 2:19-cv-06325-DSF-JEM Document 32 Filed 01/13/20 Page 3 of 3 Page ID #:486




 1                                         PROOF OF SERVICE

 2   STATE OF CALIFORNIA                        )
                                                )      ss.
 3
     COUNTY OF SAN LUIS OBISPO                  )
 4          I am employed in the County of San Luis Obispo, California; I am over the age of 18
 5   years, and not a party to the within action; my business address is County Government
     Center, Room D320, San Luis Obispo, CA 93408.
 6
            On January 13, 2020, I served a true copy of this declaration and the following
 7
     described document(s):
 8
       ANSWER OF DEFENDANT COUNTY OF SAN LUIS OBISPO TO COMPLAINT
 9
10         In re: Michael Windeler, et al. v. Cambria Community Water District, et al.
                                   2:19-cv-06325 DSF(JEMx)
11
     on the party or parties listed below:
12
13
      Attorney for Plaintiffs                               Attorney for Defendant Cambria
14
      Gregory B. Beam                                       Community Services District
15    Mark D. Alpert                                        Michael M. McMahon
      GREGORY BEAM & ASSOCIATES, INC.                       CARMEL & NACCASHA
16    23113 Plaza Pointe Drive, Suite 100                   1908 Spring Street
17    Laguna Hills, CA 92653                                Paso Robles, CA 93446
      malpert�beamlaw.net                                   mmcmahon�carnaclaw.com
18

19   [X]    By United States mail. I enclosed a true copy of the documents in a sealed
            envelope addressed to each of the persons as indicated above, and then placed the
20          envelope for collection and mailing where it would be deposited with the United States
            Postal Service with postage fully prepaid on the same day, following my employer's
21
            business practice with which I am readily familiar.
22
23
     [X]   (STATE) I declare under penalty of perjury under the laws of the State of California
           that the foregoing is true and correct. Executed on January 13, 2020, at San Luis
24         Obispo, California.

25

26
                                                   Rebecca R. F� LegalClerk to
27                                                 Jon Ansolabehere, Chief Deputy County Counsel
28   71rrfpld
                                                          3
                              Proof of Service of Verification of Answer to Complaint
